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7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
8
                           EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,       ) CR No. S 04-297 FCD
                                     )
11             Plaintiff,            )
                                     )
12        v.                         )
                                     ) ORDER
13                                   )
     JOHN SMITH, and                 )
14   MICHELE JENSEN,                 )
                                     )
15             Defendants.           )

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          IT IS HEREBY ORDERED:       That the status conference set for May
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     23, 2005 is VACATED, and RESET for July 11, 2005 at 9:30 a.m.         It is
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     further ORDERED that the time under the Speedy Trial Act between May
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     23, 2005 and July 11, 2005, is excluded under Local Code T4, Title
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     18, United States Code, Section 3161 (h)(8)(B)(iv), to give the
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     defendants time to adequately prepare, and because of the reasons
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     stated on the record at sidebar at the last court appearance, and
24
     because Mr. Holley is scheduled to begin a jury trial.
25
     Dated: May 20, 2005
26
                                              /s/ Frank C. Damrell Jr.
27                                            Honorable Frank C. Damrell, Jr.
                                              U.S. District Judge
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                                          1
